                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

In re:                                                       Case No. 09-65895

CLEMENTS MANUFACTURING                                       Chapter 7
LIQUIDATION COMPANY, LLC,
                                                             Judge Thomas J. Tucker
            Debtor.
_________________________________/

                     OPINION REGARDING THE CHAPTER 7 TRUSTEE’S
                             SECOND SETTLEMENT MOTION

I. Introduction

         This case is before the Court on the Chapter 7 Trustee’s motion entitled “Motion to

Compromise and Settle Adversary Case Nos. 10-01623-TJT and 10-07341-TJT” (Docket # 115,

the “Motion”). In the Motion, the Trustee seeks the Court’s approval of the Trustee’s proposed

settlement relating to two pending adversary proceedings (Adv. Nos. 10-6123 and 10-7341). The

proposed settlement agreement is between the Trustee and several parties that this opinion will

refer to as the “Zaima Entities,” namely, Harold Zaima, Zaima Family LLC, Sakoma, LLC, and

Kensa de Honduras S. De R.L.

         Several creditors objected to the Motion. Objections were filed jointly by THB America,

LLC (“THB”) and Tianhai Electric North America, Inc. (“TENA”),1 and by two other creditors

— Odyssey Electronics, Inc.2 and David Crawford.3 The Trustee filed a reply in support of the




         1
             Docket # 119.
         2
             Docket # 124.
         3
             Docket # 120.



  09-65895-tjt       Doc 149   Filed 01/26/18     Entered 01/26/18 12:14:32       Page 1 of 29
Motion.4 The Court then held a hearing, and ordered certain further proceedings,5 including the

filing of a written, competing settlement offer by THB and TENA (these two parties, collectively,

are sometimes referred to in this opinion as the “TENA Entities”). THB and TENA then filed

their competing settlement offer (the “TENA Settlement Offer”), and a statement in support of

it.6

          The Court then held a status conference regarding the Motion and the TENA Settlement

Offer. At that time, the Trustee informed the Court that he had rejected the TENA Settlement

Offer, and still wanted the Court to grant the Trustee’s Motion and approve the proposed

settlement with the Zaima Entities. The Court allowed the Trustee and the Zaima Entities to file

written responses to the statement THB and TENA had filed in support of the TENA Settlement

Offer.7 After those responses were filed,8 and the Court took the Motion under advisement.

          The Court has carefully considered everything filed by the parties regarding the Trustee’s

Motion and the TENA Settlement Offer, as well as the oral arguments of the parties. For the

reasons stated in this opinion, the Court will conditionally deny the Trustee’s Motion. The

Court’s ruling finds the TENA Settlement Offer to be a better offer, and gives preference to it

over the Trustee’s proposed settlement. The Court will allow THB and TENA 14 days to renew




          4
              Docket # 129.
          5
              See Order at Docket # 136.
          6
              Docket ## 137 (TENA Settlement Offer), 138 (statement in support of TENA Settlement
Offer).
          7
              See Order at Docket # 140.
          8
              Docket ## 141, 143.

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   09-65895-tjt        Doc 149      Filed 01/26/18   Entered 01/26/18 12:14:32        Page 2 of 29
the TENA Settlement Offer. If they do so, the Court will deny the Trustee’s Motion. But if the

TENA Settlement Offer is not renewed, the Court will grant the Trustee’s Motion and approve

the Trustee’s proposed settlement, with certain revisions described below.

II. Jurisdiction

       This Court has subject matter jurisdiction over the case and this contested matter under

28 U.S.C. §§ 1334(b), 157(a) and (b)(1), and Local Rule 83.50(a) (E.D. Mich.). A motion to

approve a settlement agreement is a “core proceeding” under 28 U.S.C. §§ 157(b)(2)(A) and

157(b)(2)(O). See In re High Tech Packaging, Inc., 397 B.R. 369, 371 (Bankr. N.D. Ohio 2008);

In re Parkview Hosp.–Osteopathic Med. Ctr., 211 B.R. 603, 607 (Bankr. N.D. Ohio 1997); In re

Dow Corning Corp., 192 B.R. 415, 421 (Bankr. E.D. Mich. 1996); In re Frye, 216 B.R. 166, 170

(Bankr. E.D. Va. 1997).

       This contested matter also is “core” because it falls within the definition of a proceeding

“arising in” a case under title 11, within the meaning of 28 U.S.C. § 1334(b). Matters falling

within this category in § 1334(b) are deemed to be core proceedings. See Allard v. Coenen (In re

Trans-Industries, Inc.), 419 B.R. 21, 27 (Bankr. E.D. Mich. 2009). This matter is a proceeding

“arising in” a case under title 11, because it is a proceeding that “by [its] very nature, could arise

only in bankruptcy cases.” Id.

III. Standards for approval or disapproval of a settlement agreement

       In its opinion in a prior case, In re McInerney, 499 B.R. 574, 581-83 (Bankr. E.D. Mich.

2013), this Court stated the standards and factors relevant to deciding whether to approve a

proposed settlement. The Court reiterates what it said in the McInerney case about this subject,

and will apply that to the Trustee’s Motion in this case:


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  09-65895-tjt     Doc 149      Filed 01/26/18     Entered 01/26/18 12:14:32          Page 3 of 29
           “Settlements and compromises are favored in bankruptcy as they
           minimize costly litigation and further parties’ interests in
           expediting the administration of the bankruptcy estate.” HSBC
           Bank USA, N.A. v. Fane (In re MF Global Inc.), 466 B.R. 244, 247
           (Bankr. S.D.N.Y. 2012) (citing Myers v. Martin (In re Martin), 91
           F.3d 389, 393 (3d Cir. 1996)); see also Protective Comm. For
           Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390
           U.S. 414, 424 (1968) (citation omitted) (Bankruptcy Act)
           (“Compromises are ‘a normal part of the process of
           reorganization.’ In administering reorganization proceedings in an
           economical and practical manner it will often be wise to arrange
           the settlement of claims as to which there are substantial and
           reasonable doubts.”); In re Dewey & LeBoeuf LLP, 478 B.R. 627,
           640 (Bankr. S.D.N.Y. 2012)(citing MF Global Inc., 466 B.R. at
           247; Motorola, Inc. v. Official Comm. of Unsecured Creditors (In
           re Iridium Operating LLC), 478 F.3d 452, 455 (2d
           Cir.2007)(“stating that settlements are important in bankruptcy
           because they ‘help clear a path for the efficient administration of
           the bankrupt estate’”); and10 Collier on Bankruptcy ¶ 9019.01 at
           9019–2 (“highlighting that ‘compromises are favored in
           bankruptcy’”)); Buckeye Check Cashing, Inc. v. Meadows (In re
           Meadows), 396 B.R. 485, 499 (B.A.P. 6th Cir. 2008) (citing In re
           Cormier, 382 B.R. 377, 400–01 (Bankr. W.D. Mich.
           2008))(“Settlements in bankruptcy cases are favored by law.”); In
           re West Pointe Properties, L.P., 249 B.R. 273, 282 (Bankr. E.D.
           Tenn. 2000) (quoting In re Edwards, 228 B.R. 552, 568–69
           (Bankr. E.D. Pa. 1998))(“‘[I]t is well accepted that compromises
           are favored in bankruptcy in order to minimize the cost of litigation
           to the estate and expedite its administration, and that the approval
           of a compromise is within the sound discretion of the bankruptcy
           judge.’”).

           “At the same time, however, it is essential that every important
           determination in reorganization proceedings receive the ‘informed,
           independent judgment’ of the bankruptcy court.” TMT Trailer, 390
           B.R. at 424 (citation omitted).

           In Olson v. Anderson (In re Anderson), 377 B.R. 865, 870-71
           (B.A.P. 6th Cir. 2007), abrogated on other grounds by Schwab v.
           Reilly, 560 U.S. 770 (2010)(footnotes and citations omitted), the
           court described in detail the “[s]tandard for approval or disapproval
           of a settlement agreement”:



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09-65895-tjt   Doc 149    Filed 01/26/18     Entered 01/26/18 12:14:32        Page 4 of 29
                  Rule 9019 of the Federal Rules of Bankruptcy
                  Procedure provides: “On motion by the trustee and
                  after notice and a hearing, the court may approve a
                  compromise or settlement.” The rule offers no
                  guidance as to the criteria to be used in evaluating
                  whether a settlement should be approved, but courts
                  uniformly have drawn from the language of the
                  Supreme Court's decision in TMT Trailer Ferry in
                  establishing a “fair and equitable” threshold for
                  settlement approval. See Protective Comm. for
                  Indep. Stockholders of TMT Trailer Ferry, Inc. v.
                  Anderson, 390 U.S. 414, 424, 88 S.Ct. 1157, 1163,
                  20 L.Ed.2d 1 (1968). Although the TMT Trailer
                  Ferry case was decided under the Bankruptcy Act,
                  “its principles have been broadly held applicable to
                  settlements under the Bankruptcy Code.” 2 Norton
                  Bankr.L. & Prac.2d § 41:10 (2007). Many Rule
                  9019 opinions have relied on TMT Trailer Ferry
                  “both for the substantive requirement that
                  settlement represent a fair compromise of disputed
                  issues, and for the requirement that such settlement
                  be preceded by adequate inquiry.” Id.

                  The Sixth Circuit Court of Appeals has held that
                  “the bankruptcy court is charged with an
                  affirmative obligation to apprise itself of the
                  underlying facts and to make an independent
                  judgment as to whether the compromise is fair
                  and equitable.” Reynolds v. Comm'r, 861 F.2d 469,
                  473 (6th Cir.1988) (emphasis added). The court
                  must weigh the conflicting interests of all
                  relevant parties, “considering such factors as the
                  probability of success on the merits, the
                  complexity and expense of litigation, and the
                  reasonable views of creditors.” Bauer v.
                  Commerce Union Bank, 859 F.2d 438, 441 (6th
                  Cir.1988) (citation omitted). “A bankruptcy judge
                  need not conduct a mini-trial or write an extensive
                  opinion every time he approves or disapproves a
                  settlement. The judge need only be apprised of the
                  relevant facts and law so that he can make an
                  informed and intelligent decision and set out the
                  reasons for that decision.” Fishell v. Soltow (In re


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09-65895-tjt   Doc 149   Filed 01/26/18     Entered 01/26/18 12:14:32    Page 5 of 29
                  Fishell), 47 F.3d 1168, 1995 WL 66622, at *3 (6th
                  Cir. Feb.16, 1995) (unpublished table decision)
                  (quoting LaSalle Nat'l Bank v. Holland (In re Am.
                  Reserve Corp.), 841 F.2d 159, 163 (7th Cir.1987));
                  see also TMT Trailer Ferry, 390 U.S. at 437, 88
                  S.Ct. 1157 (holding that bankruptcy court must have
                  the facts in order to make an informed and
                  independent decision).

                  Although published Sixth Circuit case law on Rule
                  9019 settlements is relatively sparse, in unpublished
                  decisions the Court of Appeals and Bankruptcy
                  Appellate Panel have consistently reaffirmed their
                  adherence to the “fair and equitable” standard. See
                  Lyndon Prop. Ins. Co. v. Katz, 196 Fed.Appx. 383,
                  387 (6th Cir.2006); Bard v. Sicherman (In re Bard),
                  49 Fed.Appx. 528, 530 (6th Cir.2002); In re Fishell,
                  47 F.3d 1168, 1995 WL 66622, at *3 (6th Cir.
                  Feb.16, 1995) (unpublished table decision); Cook v.
                  Terlecky (In re Cook), 336 B.R. 600, 2006 WL
                  13114, at *3 (6th Cir. BAP Jan. 4, 2006)
                  (unpublished table decision); Porter Drywall Co. v.
                  Haven, Inc. (In re Haven, Inc.), 326 B.R. 901, 2005
                  WL 927666, at *3 (6th Cir. BAP April 7, 2005)
                  (unpublished table decision). Further, the vast
                  majority of appellate courts that have addressed the
                  issue have relied upon the same or similar criteria.
                  No appellate court has rejected, either expressly or
                  implicitly, the efficacy of this approach.

           (Emphasis added). The four factors that courts generally consider
           in evaluating whether a compromise is “fair and equitable” are:

                  (a) The probability of success in the litigation; (b)
                  the difficulties, if any, to be encountered in the
                  matter of collection; (c) the complexity of the
                  litigation involved, and the expense, inconvenience
                  and delay necessarily attending it; (d) the paramount
                  interest of the creditors and a proper deference to
                  their reasonable views.

           In re High Tech Packaging, Inc., 397 B.R. 369, 372 (Bankr. N.D.
           Ohio 2008)(citing In re Fishell, 47 F.3d 1168, 1995 WL 66622, at


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09-65895-tjt   Doc 149    Filed 01/26/18    Entered 01/26/18 12:14:32          Page 6 of 29
               *3 (6th Cir.1995) (unpublished table decision); Bard v. Sicherman
               (In re Bard), 49 Fed. Appx. 528, 530 (6th Cir.2002)). “The trustee
               has the burden to establish that a motion to compromise is
               appropriate with respect to these considerations.” High Tech
               Packaging, 397 B.R. at 372.

McInerney, 499 B.R. at 581-83.

IV. Discussion

A. Further background relevant to the Trustee’s Motion

       The Trustee’s Motion seeks approval to settle the Trustee’s claims asserted in the two

pending, consolidated adversary proceedings (Adv. Nos. 10-6123 and 10-7341). The Court

previously described many of the Trustee’s claims in those adversary proceedings, and described

the complex, February 29, 2008 transactions that gave rise to the Trustee’s claims, in a lengthy

opinion denying various motions for summary judgment. Wells v. THB Am., LLC (In re

Clements Mfg. Liquidation Co., LLC), 521 B.R. 231 (Bankr. E.D. Mich. 2014) (the “Summary

Judgment Opinion”). Rather than repeating it here, the Court incorporates by reference, into this

opinion, its description of the Trustee’s claims and the underlying transactions contained in the

Summary Judgment Opinion.

       After denying summary judgment, and after receiving substantial input from the parties,

the Court ultimately decided to order separate trials of the many claims involved in the adversary

proceedings. In an order filed on June 29, 2015, the Court ordered that the first trial would be

limited to:

               a trial on the following claims by the Trustee: Adversary
               Proceeding No. 10-07341, Chapter 7 Trustee’s Crossclaims, Count
               VII (Avoidance of Transfers in Honduras APA Against Zaima
               Entities); Count VIII (Avoidance of Transfers in Honduras APA
               Against Zaima Entities); and Count IX (limited to Avoidance of


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  09-65895-tjt    Doc 149      Filed 01/26/18     Entered 01/26/18 12:14:32        Page 7 of 29
                 Transfers in Honduras APA Against Zaima).9

On August 31, 2015, the Court held a final pretrial conference, and entered a final pretrial order,

with respect to the trial of these claims by the Trustee. As indicated by the final pretrial order, a

primary focus of the first trial was to be the Trustee’s claim that the bankruptcy estate has the

right to collect on a $1.84 million promissory note that was given by TENA’s predecessor in

interest,10 and made payable to Kensa de Honduras (one of the Zaima Entities). The Trustee

claims that the rights as payee under this promissory note belong to the bankruptcy estate, rather

than to Kensa de Honduras, either because the note should have been made payable to the

bankruptcy Debtor, or in the alternative, because the giving of such note to Kensa de Honduras

was an avoidable fraudulent transfer.

       The August 31, 2015 final pretrial order described the Trustee’s claims, and the defenses

of the Zaima Entities, that were to be the subject of the first trial. The following descriptions of

the claims and defenses were provided by the Trustee and by the Zaima Entities, respectively:

                 II.      Trustee’s Claims

                 Defendants Harold Zaima and Kensa de Honduras received
                 fraudulently transferred funds and other consideration in the form
                 of the Promissory Note from the purchase of assets of the Debtor
                 as part of the consolidated transactions on February 29, 2008.

                 As of the date of the transactions, the Debtor was insolvent.

                 The Debtor owned the assets transferred to Kensa de Honduras and


       9
            Order Regarding Separate Trials and Related Matters (Docket # 241 in Adv. No. 10-6123).
       10
           TENA is now deemed the payor on the promissory note. The original payor was CAE US
Holdings, Inc. (“CAE US”). The CAE US entity later merged with TENA, with TENA as the surviving
entity. (See Summary Judgment Opinion, 521 B.R. at 235, 252; see also Tr. of December 7, 2016
hearing (Docket # 145) at 27, 66-67).

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  09-65895-tjt         Doc 149   Filed 01/26/18     Entered 01/26/18 12:14:32         Page 8 of 29
           then to THB de Honduras prior to the transactions on February 29,
           2008.

           With the avoidance of the fraudulent transfer, the Trustee is
           entitled to recover sums and other consideration received by Kensa
           de Honduras and Zaima, including the Promissory Note in the
           amount of $1,840,000.

           III.   Defenses of Zaima and Kensa de Honduras

           The Honduras APA and the $1,840,000 Promissory Note were part
           of a larger, integrated transaction of which certain assets of Kensa
           de Honduras, Kensa de Mexico, Sakoma and Old Kensa
           (“Debtor”) were purchased by THB Honduras and THB America,
           of which CAE US ultimately purchased an 80% ownership interest,
           for total consideration of over $14.5 million. The amounts
           allocated to each of the entities which were part of the integrated
           transaction were properly allocated based on value of assets
           purchased.

           The $1,840,000 Promissory Note made payable to Kensa de
           Honduras (“Promissory Note) is not property of the Debtor’s
           bankruptcy estate, nor does it constitute a voidable transfer. The
           Promissory Note was properly made payable to Kensa de Honduras
           and not the Debtor.

           The Unit Purchase Agreements and related Asset Purchase
           Agreements comprising the larger, integrated transaction, including
           the Honduras APA, were arms-length transactions for reasonably
           equivalent value. The Debtor, Kensa de Honduras and Kensa de
           Mexico were all separate legal entities and each entity obtained
           separate audited financial statements, which were audited on an
           annual basis.

           The Promissory Note was made payable to Kensa de Honduras as a
           proportional allocation of payment for Kensa de Honduras’s
           transfer of certain assets in the Honduras APA and the larger,
           integrated transaction. The amount of the purchase price given to
           each signatory of the Honduras APA and within the larger
           integrated transaction, including both Kensa de Honduras and the
           Debtor, was allocated according to the value of the assets
           ultimately purchased by CAE as part of the larger, integrated
           transaction. This allocation was in accordance with the assets
           residing in and owned by each entity based on the financial

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09-65895-tjt   Doc 149    Filed 01/26/18     Entered 01/26/18 12:14:32       Page 9 of 29
                statements of each entity. Doeren Mayhew was consulted on the
                valuation and allocation of the subject assets and Doeren
                Mayhew’s allocation recommendation was implemented.

                At closing, the Debtor received much greater than reasonably
                equivalent value for its transfer of certain assets in the Honduras
                APA and the integrated transaction. Kensa de Honduras in fact
                received less than reasonably equivalent value for its transfer of
                certain of assets in the Honduras APA. As such, the Promissory
                Note made payable to Kensa de Honduras does not constitute a
                voidable transfer and is not otherwise property of the bankruptcy
                estate. The rights to enforce the terms of the Promissory Note
                belong solely to Kensa de Honduras and Kensa de Honduras is
                entitled to recovery under the terms of the note from the TENA
                Defendants. Kensa de Honduras’s claims against TENA to enforce
                the Promissory Note should be remanded to the Oakland County
                Circuit Court for either jurisdictional reasons or under principles of
                abstention for trial.11

       Before the first trial was to have occurred, the Trustee informed the Court that he had

reached a settlement. Ultimately, the Trustee filed the present Motion, and the litigation over the

Motion ensued, as described in Part I of this opinion.

B. The Trustee’s proposed settlement

       The Trustee’s Motion seeks approval of the Trustee’s settlement with the Zaima Entities.

The main terms of that settlement, in substance, are as follows.

       The Trustee will dismiss and release all of the bankruptcy estate’s claims against the

Zaima Entities in Adv. Nos. 10-6123 and 10-7341, including the Trustee’s claim regarding the

$1.84 million promissory note. All of the claims between the Zaima Entities and the Chinese




       11
          Final Pretrial Order Regarding Trial on Fraudulent Transfer Claims Against Harold Zaima and
Kensa de Honduras, filed August 31, 2015, at 3-5 (Docket # 63 in Adv. No. 10-7341 and Docket # 246 in
Adv. No. 10-6123).

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 09-65895-tjt     Doc 149      Filed 01/26/18     Entered 01/26/18 12:14:32         Page 10 of 29
Entities12 in Adv. No. 10-7341 will be remanded13 to the Oakland County Circuit Court.

Meanwhile, all of the claims asserted by the Trustee against the Chinese Entities in the two

adversary proceedings will be “held in abeyance” by this Court, to be dismissed with prejudice

after completion of the Oakland County litigation.

       In addition, the Trustee will “permit and allow,” and not object to, Harold Zaima’s proof

of claim filed in this case, as a general unsecured claim in the amount of $471,250.00.

       In exchange, the Zaima Entities will “assign” to the Trustee 20% “of any settlement or

judgment funds” they obtain from their claims against the Chinese Entities in the Oakland

County litigation, with such 20% amount not to exceed $300,000.00. (Such claims include a

claim to collect on the $1.84 million promissory note discussed above, and several other claims.)

       And the Zaima Entities will “release any interest” they hold in the “interpleaded funds

from the Sanilac County Circuit Court.” These funds total roughly $132,000, and are being held

by the Trustee, subject to further order, under this Court’s order entered on May 23, 2011.14 The

funds are the proceeds of a garnishment action brought by one of the Debtor’s creditors in the

Sanilac County Circuit Court. The Trustee claims that these funds are property of the bankruptcy

estate; THB and TENA have argued that these funds belong to them.

C. The competing TENA Settlement Offer



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           As used in this opinion and in the Motion, “Chinese Entities” means China Auto
Electronics Group Ltd, Henan Tianhai Electric Co., Ltd., TENA, Hebi Tianhai Huanqiu Electric
Company, Ltd., THB, and Tianhai Electric Group Corporation.
       13
         That adversary proceeding was a case that originated in the Oakland County Circuit Court, but
was removed to this Court by THB and TENA.
       14
            Docket # 78.

                                                 11



 09-65895-tjt      Doc 149    Filed 01/26/18      Entered 01/26/18 12:14:32         Page 11 of 29
        The TENA Settlement Offer, in substance, contained the following main terms.15 First,

THB and TENA will immediately waive any claim to the Sanilac County interpleaded funds, and

will waive any right to receive any distribution from the Debtor’s bankruptcy estate. (THB and

TENA filed proofs of claim in the amounts of $1,000,235.00 (Claim No. 5) and $6,222,589.72

(Claim No. 4), respectively, for a total of $7,222.824.72).

        Second, TENA will promptly deposit into an interest-bearing escrow account the sum of

$300,000.00 (the “Escrowed Funds”). The Trustee must litigate to final judgment its claims

against the Zaima Entities regarding the $1.84 million promissory note (the “Promissory Note”).

If and to the extent the Trustee “obtains a Final Judgment recovering the Promissory Note as a

voidable transfer or otherwise as property of the Debtor’s bankruptcy estate,” the Escrowed

Funds will be paid to the bankruptcy estate in full satisfaction of the Promissory Note. Those

funds will be paid in full if the Trustee recovers the Promissory Note in full, or “pro rata” if the

Trustee recovers the Promissory Note in part. To the extent not paid to the Trustee under these

terms, the Escrowed Funds will be returned to TENA.

        Finally, the Trustee will waive all claims against THB and TENA.

D. The Court’s findings and conclusions about whether to grant the Trustee’s Motion

        After carefully considering the arguments of the Trustee and the objecting parties, the

Court has decided to conditionally deny the Trustee’s Motion, as described below.

        Upon review of all the relevant factors described in Part III of this opinion, the Court



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            The TENA Settlement Offer was filed at Docket # 137. The TENA Settlement Offer was
pending and made “irrevocable” from December 16, 2016 to March 20, 2017. But the Trustee had
rejected the offer as of January 11, 2017. (Tr. of January 11, 2017 status conference (Docket # 148) at
3).

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 09-65895-tjt      Doc 149      Filed 01/26/18      Entered 01/26/18 12:14:32          Page 12 of 29
finds and concludes that as between the TENA Settlement Offer and the Trustee’s proposed

settlement, the TENA Settlement Offer is superior to, and of greater value and benefit to, the

bankruptcy estate. Because of this, the Court will deny the Trustee’s Motion if the TENA

Settlement Offer is renewed by THB and TENA, in writing, within 14 days. But if the TENA

Settlement Offer is no longer available — i.e., if the TENA Settlement Offer is not renewed —

the Court will approve the Trustee’s proposed settlement, with certain revisions described below.

The Court finds and concludes that this conditional-denial outcome is fair and equitable;

represents a fair compromise of disputed issues; is reasonable; and is in the best interests of the

bankruptcy estate.

        1. The TENA Settlement Offer is superior to the Trustee’s proposed settlement.

        The Court is persuaded that the TENA Settlement Offer is better for the bankruptcy estate

than the Trustee’s proposed settlement, for the reasons argued by THB and TENA in their

statement in support of the TENA Settlement Offer,16 and particularly given the following

considerations.

        Under the TENA Settlement Offer, the bankruptcy estate would obtain the following

benefits. First, the estate would be guaranteed to receive $300,000, from the Escrowed Funds

TENA will deposit, if the Trustee prevails in the first trial against the Zaima Entities, in

establishing the bankruptcy estate’s right to the $1.84 million Promissory Note. And the Trustee

has estimated that he has a 70-80% chance of prevailing on that claim.17 And this result would


        16
             Docket # 138.
        17
            The Trustee’s counsel made this estimate during the December 7, 2016 hearing. (Tr. (Docket
# 145) at 33). The Zaima Entities disagree with the Trustee’s assessment, and have argued that the
Trustee is unlikely to prevail on this claim. (See Docket # 143 at 5-7). But the Court finds it appropriate

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 09-65895-tjt       Doc 149     Filed 01/26/18       Entered 01/26/18 12:14:32           Page 13 of 29
be obtained after conducting a two-day trial in this Court that the Trustee estimates will cost

$15,000 to $25,000 in attorney fees, plus some unspecified amount of accountant fees for the

Trustee’s trial expert.18 If we make the reasonable assumption that the additional accountant fees

to try the Promissory Note claim will be $10,000, that would mean a total cost to the estate of

$25,000 to $35,000 going forward to try a case that is 70-80% likely to yield a return of $300,000

to the estate. If we discount the $300,000 for a 70% chance of success, the result (on a cost-

benefit analysis) is a likely net benefit to the bankruptcy estate from this part of the TENA

Settlement Offer of at least $175,000 ($300,000 times .70 equals $210,000, minus $35,000

equals $175,000). And if we use the most favorable assumptions in the ranges above, the result

is a likely net benefit to the bankruptcy estate of $215,000 ($300,000 times .80 equals $240,000,

minus $25,000 equals $215,000).

        Second, and regardless of the outcome of a trial on the Trustee’s Promissory Note claim,

under the TENA Settlement Offer, the bankruptcy estate would soon receive the entire $132,000

amount of the Sanilac County interpleaded funds, without any further expense of litigating with

the TENA Entities over the right to those funds. TENA has asserted a claim to those funds,19 but

would give it up. The Zaima Entities have not made a claim to those funds, and for reasons

described by the Court during the December 7, 2016 hearing, which the Trustee’s counsel agreed

with, it appears that the Zaima Entities already have waived any claim they might have made to




to accept the Trustee’s assessment of his chances of prevailing, for purposes of ruling on the Trustee’s
Motion.
        18
             See id. at 38.
        19
             See id. at 72-74 (argument of counsel for THB and TENA).

                                                    14



 09-65895-tjt        Doc 149    Filed 01/26/18       Entered 01/26/18 12:14:32          Page 14 of 29
those funds.20 Under the Trustee’s proposed settlement with the Zaima Entities, by contrast,

TENA will retain its claim to the Sanilac County funds, and the estate likely will have to spend

attorney fees to litigate for those funds, with uncertain results.

        A third benefit to the bankruptcy estate from the TENA Settlement Offer is that the pool

of general unsecured claims in this case would, in effect, be reduced by $7.2 million, to roughly

29% of what the filed claims total currently.21 This is because of the offer by the TENA Entities

to forego any distributions on their filed claims. And this result would be achieved without any

further expense for the estate. Under the Trustee’s proposed settlement, by contrast, there is no

particular reason to expect this result, and certainly not without litigation expenses that might be

significant. The effect of this part of the TENA Settlement Offer would be to significantly

increase the pro rata percentage of distributions that each of the remaining general unsecured

creditors would receive in this case. That is, of any funds distributed by the Trustee to the pool

of general unsecured creditors, each such creditor would receive a much higher percentage of

such funds, on a pro rata basis. How much more money this would actually equate to for each

creditor, of course, remains to be seen. But under any scenario, this Court is unlikely to approve

higher-priority administrative expenses, in the form of fees for the Trustee and the Trustee’s

professionals, in amounts that would leave general unsecured creditors without a meaningful


        20
             See id. at 8-10.
        21
           The claims register in this case shows 10 claims filed, of which 9 are unsecured claims which
total $9,665,745.93. This total includes the $7,222,824.72 in claims filed by THB and TENA., but does
not include any claim amount for the claim filed by Harold Zaima, which was filed in an unliquidated
amount. If we assume a claim amount of $471,250.00 for Harold Zaima’s claim (the amount Zaima has
agreed to in the Zaima Entities’ proposed settlement with the Trustee), then the total unsecured claims
equal $10,136,995.93. Of that total, the claims other than the $7,222,824.72 in claims filed by THB and
TENA total $2,914,171.21, which equals 28.75% of the total unsecured claims.

                                                   15



 09-65895-tjt        Doc 149    Filed 01/26/18     Entered 01/26/18 12:14:32          Page 15 of 29
distribution.22

        Under the TENA Settlement Offer, the Trustee would retain all of his claims against the

Zaima Entities, and could choose to litigate those or not, in whole or in part, depending on what

the Trustee decides is best for the bankruptcy estate.

        Based on the foregoing discussion, the likely net benefit to the bankruptcy estate from the

TENA Settlement Offer would be in the range of $307,000 to $347,000 (consisting of the net

benefit from the Escrowed Funds ($175,000 to $215,000) plus the Sanilac County interpleaded

funds ($132,000)), plus a reduction of more than two-thirds in the pool of general unsecured

claims to be paid.

        These likely net benefits to the bankruptcy estate make the TENA Settlement Offer

superior to the Trustee’s proposed settlement with the Zaima Entities. Under the Trustee’s

proposed settlement, there is no reduction in the pool of general unsecured claims to be paid;

there is no assurance that the estate will actually obtain any of the Sanilac County interpleaded

funds or that it will do so without significant litigation expense; and it is rather speculative and

unclear how much the estate would obtain under its 20%/$300,000 share in funds that are

actually collected by the Zaima Entities on their claims against the Chinese Entities. Even if the

Court assumes that the Zaima Entities will someday actually collect at least $1.5 million on their

claims against the Chinese Entities, perhaps after a lengthy trial and appeals, so that the estate

someday would get the maximum of $300,000, the net benefit to the estate of the TENA

Settlement Offer is superior, because it is likely to bring in a net benefit substantially higher than



        22
           The Trustee’s counsel recognized this, in comments made during the December 7, 2016
hearing. (See Tr. (Docket # 145) at 100).

                                                  16



 09-65895-tjt     Doc 149      Filed 01/26/18     Entered 01/26/18 12:14:32          Page 16 of 29
$300,000, plus a two-thirds reduction in the unsecured claims pool.

        2. The Trustee’s proposed settlement is superior to the alternatives available to the
           Trustee other than the TENA Settlement Offer.

        Having concluded that the TENA Settlement Offer is superior to the Trustee’s proposed

settlement, the Court also concludes that if the TENA Settlement Offer is no longer available,

then the Trustee’s proposed settlement is superior to the other alternatives available to the

Trustee. For that reason, the Court concludes that it should approve the Trustee’s proposed

settlement, if the TENA Settlement Offer is not renewed in response to the Court’s ruling today.

        The Court is persuaded, by the Trustee’s arguments, that if the TENA Settlement Offer is

no longer available, it is best for the bankruptcy estate for the Trustee to accept the Zaima

Entities’ deal, and thereby stop incurring all further risks and expenses of litigating the Trustee’s

claims in these adversary proceedings. The Trustee has a complex, difficult, and expensive task,

and a substantial risk of losing to a great extent, if he litigates to judgment such claims.

        As noted above, it is true that the Trustee estimates that he has a 70-80% chance of

succeeding at trial on his claim that the bankruptcy estate, rather than the Zaima Entities, has the

right to pursue collection against TENA on the $1.84 million Promissory Note. Even assuming

that the Trustee is right about that, establishing that right offers no assurance that the estate will

prevail against TENA’s claimed defenses and offsets against the Promissory Note, or will do so

at a cost that provides a net benefit to the estate.23 In the absence of the TENA Settlement Offer,

the Trustee’s proposed settlement avoids the cost and risk of litigating such claims, and instead

pushes that cost to the Zaima Entities, and obtains, at no further expense to the estate, a share of


        23
           See, e.g., Docket # 138 at 3-4 (brief discussion by TENA of its defenses and offsets to any
claim against it on the Promissory Note).

                                                   17



 09-65895-tjt      Doc 149      Filed 01/26/18      Entered 01/26/18 12:14:32          Page 17 of 29
any success the Zaima Entities have on any of their claims against the Chinese Entities.

        In the absence of a settlement based on the TENA Settlement Offer, the Trustee’s

proposed settlement with the Zaima Entities, with the Court’s revisions described below, will

offer the best option for the bankruptcy estate, among the remaining alternatives.

        3. Terms of the Court’s conditional denial of the Trustee’s Motion

        As noted in footnote 15 of this opinion, above, the TENA Settlement Offer was pending

and made “irrevocable” from December 16, 2016 to March 20, 2017. But it actually may have

ended by January 11, 2017, because by that date the Trustee had rejected the offer. In any case,

the Court will give THB and TENA an opportunity to renew the TENA Settlement Offer, by

doing so in a writing that must be filed with 14 days. Any such renewed offer must be identical

to, or clearly better than, the TENA Settlement Offer previously made, and it must be expressly

made irrevocable until a date certain that is at least 60 days after the date on which the renewed

offer is filed.

        If THB and TENA file such a renewed offer, the Court will promptly enter an order

denying the Trustee’s Motion, and disapproving the Trustee’s proposed settlement with the

Zaima Entities. At that point, the Trustee will be left to decide whether to accept, and move for

approval of, the renewed TENA settlement offer (or any negotiated improvement of such offer).

If the Trustee chooses not to do that, the Court will schedule a conference to set a new trial date

for the first trial to be held in the adversary proceedings.

        If THB and TENA do not file a renewed settlement order as just described, the Court will

promptly enter an order granting the Trustee’s Motion and approving the Trustee’s proposed

settlement with the Zaima Entities, with certain revisions.


                                                  18



 09-65895-tjt     Doc 149      Filed 01/26/18      Entered 01/26/18 12:14:32       Page 18 of 29
       4. The Court’s revisions to the Trustee’s settlement terms

       If the Court ultimately approves the Trustee’s settlement with the Zaima Entities, it will

be subject to several revisions. All of the Court’s revisions are reflected in the redlined order

document appended to this opinion, and in the clean version of that as-yet unsigned order, also

appended to this opinion. The redline shows the changes the Court has made to the proposed

order that the Trustee filed with his Motion. (The Court also has added all the footnotes in the

revised order). There are many non-material changes reflected in this redline. During the

December 7, 2016 hearing, the Trustee and the Zaima Entities agreed in substance to all of the

material revisions.

       The clean version of this order, appended to this opinion, is the order the Court will enter,

if it turns out that the TENA Settlement Offer is not renewed.

V. Conclusion

       For the reasons stated in this opinion, the Court will enter an order today, conditionally

denying the Trustee’s Motion as described above.



Signed on January 26, 2018




                                                 19



 09-65895-tjt     Doc 149     Filed 01/26/18      Entered 01/26/18 12:14:32        Page 19 of 29
                         APPENDIX TO OPINION
               (Two unsigned order versions (redline and clean) not entered)




09-65895-tjt   Doc 149    Filed 01/26/18    Entered 01/26/18 12:14:32          Page 20 of 29
                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                          Case No. 09-65895

CLEMENTS MANUFACTURING                                          Chapter 7
LIQUIDATION COMPANY, LLC,
                                                                Judge Thomas J. Tucker
            Debtor.
_________________________________/

          ORDER GRANTING TRUSTEE'S MOTION TO COMPROMISE
     AND SETTLE ADVERSARY CASE NOS. 10-06123-TJT10-06123 AND 10-07341-
                            TJT10-07341

        This matter having comingcase is before the Court on the Trustee’s Motionmotion
entitled “Motion to Compromise and Settle Estate's Interest in Adversary Case Nos.
10-06123-TJT and 10-07341-TJT;10-07341-TJT” (Docket # 115, the “Motion”). Notice of the
Motion having beenwas served on all parties pursuant toas required by Fed. R. Bankr. P. 2002
and L.B.R. 9014-1 (E.D.M.); no objections having been filed thereto, or if filed, having been
resolved; and the Court being otherwise fully advised in the premises;

        IT IS HEREBY. Objections were filed, and the Court held a hearing. For the reasons
stated by the Court in its written opinion filed January 26, 2018, the Court enters this Order.

      IT IS ORDERED that the Trustee’s Motion to Compromise and Settle Estate’s Interest in
Adversary Case Nos. 10-06123-TJT ("Receivables Adversary") and 10-07341-TJT (“Oakland
County Case Adversary”) is granted; , subject to the terms of this Order.

       IT IS FURTHER ORDERED that Chapter 7 Trustee, Charles L. Wells, III, is authorized
to compromise and settle all causes of action asserted by the Estate of Debtor Clements
Manufacturing Liquidation Company L.L.C. (hereinafter collectively “Trustee"” or
"Estate”“Estate”) against Harold Zaima, Zaima Family LLC, Sakoma LLC and Kensa de
Honduras S. de R.L. ("Zaima Entities") in Adversary Nos. 10-06123-TJT (the
Receivables“Receivables Adversary”) and 10-07341-TJT (the Oakland“Oakland County Case
Adversary”) on all of the terms and conditions of the Settlement and Release Agreement attached
as Exhibit 5 to the Trustee's Motion (the “Settlement Agreement”), but subject to
Compromisethe terms of this Order.1

      IT IS FURTHER ORDERED that, as provided in said Settlement and Release
Agreement:

         1
          To the extent of any conflicts between the Settlement Agreement and this Order, the terms of
this Order will govern.



 09-65895-tjt     Doc 149      Filed 01/26/18      Entered 01/26/18 12:14:32          Page 21 of 29
       A.       All causes of action, including all counts, claims, counterclaims and
                cross-claims, asserted by the Trustee against the Zaima Entities that are
                pending in the Receivables Adversary (Adv. Pro. No. 10-06123-TJT) and
                the Oakland County Case Adversary (Adv. Pro. No. 10-07341-TJT) are
                herebywill be dismissed with prejudice. Such dismissal will be
                accomplished by the entry of appropriate orders in each of the adversary
                proceedings. The Trustee and the Zaima Entities must file, in each
                adversary proceeding, a stipulation to such dismissal, and must submit an
                appropriate proposed dismissal order.

       B.       All claims and causes of action by and between the Zaima Entities and the
                Chinese Entities2 in the Oakland County Case Adversary (Adv. Pro. No.
                10-07341-TJT), including all counts, claims, and causes of action asserted
                therein, are herebywill be remanded to the Oakland County Circuit Court
                and shallwill resume in the Oakland County Circuit Court at Case No.
                09-101450-CB (“OCCC Litigation”). Such remand to the Oakland County
                Circuit Court will be accomplished by the entry of an appropriate order in
                the Oakland County Case Adversary. The Trustee and the Zaima Entities
                must file, in the Oakland County Case Adversary, a stipulation to such
                remand, and must submit an appropriate proposed remand order.

       C.       All causes of action asserted by the Trustee against the Chinese Entities
                that are pending in the Receivables Adversary (Adv. Pro. No.
                10-06123-TJT) and the Oakland County Case Adversary (Adv. Pro. No.
                10-07341-TJT) are hereby held in abeyancewill be stayed pending entry of
                a final, non-appealable judgment as to the Zaima Entities’ claims against
                the Chinese Entities in the Oakland County Circuit Court Case No.
                09-101450-CB (“OCCC Litigation”)OCCC Litigation. This stay will be
                accomplished by the entry of an appropriate stay order in each adversary
                proceeding. The Trustee and the Chinese Entities must file, in each
                adversary proceeding, a stipulation to such stay, and must submit an
                appropriate proposed stay order. The entry of this Othe stay order
                holdings, staying all of the Trustee’s claims against the Chinese Entities in
                abeyance shall, will have no impact on the OCCC Litigation, and shallwill
                have no claim- or issue-preclusive, res judicata, or collateral estoppel
                effect on the claims asserted by the Zaima Entities against the Chinese
                Entities in the OCCC Litigation. Further, the OCCC Litigation shallwill
                be binding on the Trustee’s claims.



       2
          As used in this Order, “Chinese Entities” means China Auto Electronics Group Ltd, Henan
Tianhai Electric Co., Ltd., Tianhai Electric North America Inc., Hebi Tianhai Huanqiu Electric
Company, Ltd., THB America LLC, and Tianhai Electric Group Corporation.

                                                  2



 09-65895-tjt     Doc 149      Filed 01/26/18     Entered 01/26/18 12:14:32        Page 22 of 29
       D.       TUpon entry of this Order, the Zaima Entities shallare deemed to assign to
                the Trustee/Estate 20% (twenty percent) of the gross amount3 of any
                settlement or judgment funds obtained, recovered, and collected by the
                Zaima Entities against China Auto Electronics Group Ltd, Henan Tianhai
                Electric Co., Ltd., Tianhai Electric North America Inc., Hebi Tianhai
                Huanqiu Electric Company, Ltd., THB America LLC, and Tianhai Electric
                Group Corporation (“Chinesethe Chinese Entities”) in the OCCC
                Litigation, with such assignment not to exceed $300,000 (three hundred
                thousand dollars) of any settlement or judgment funds so obtained,
                recovered, and collected (“Assignment of Litigation Proceeds”).

       E.       Upon entry of a final, non-appealable, judgment as to the Zaima Entities’
                claims against the Chinese Entities in the OCCC Litigation, the Trustee
                shallmust dismiss his claims against the Chinese Entities with prejudice
                (except for the Trustee’s claim and interest in the interpleaded funds from
                the Sanilac County Circuit Court, which were subject to a prior motion to
                compromise, Doc. 77, in this case no. 09-65895(Docket # 77).

       F.       TUpon entry of this Order, the Zaima Entities shall release any interest
                they hold in the interpleaded funds from the Sanilac County Circuit Court.
                The Zaima Entities shallwill make no claims on such funds, but do not act
                as guarantors of those funds or indemnify Debtor’sthe Estate in the dispute
                between Debtor’sthe Estate and the Chinese Entities over those funds.
                Further, the funds from the Sanilac County Circuit Court shallwill not be
                considered part of the Assignment of Litigation Proceeds. The Estate
                shallwill retain all claims and obligations to defend the interpleaded funds
                from the Sanilac County Circuit Court. The issue of these interpleaded
                funds shallwill not affect or delay the immediate remand of the claims
                referenced in subparagraph B to the Oakland County Circuit Court, and
                shallwill not have any claim- or issue-preclusive, res judicata, or collateral
                estoppel effect on the claims asserted by the Zaima Entities against the
                Chinese Entities in the OCCC Litigation.

       G.       The Trustee shallwill permit and allow Harold Zaima’s Proof of Claim
                No. 9 in the main Bankruptcy Case No. 09-65895-TJT as a general
                unsecured claim in the amount of $471,250. The Trustee will not object to
                said Proof of Claim and will take any other reasonable action to ensure
                said Proof of Claim be allowed.

       H.       The, and the claim will be deemed allowed in the amount of $471,250,


       3
           The Court has added the phrase “of the gross amount” to this subparagraph. See Tr. (Docket
# 145) at 12 (clarification by the Trustee’s counsel during the December 7, 2016 hearing).

                                                   3



 09-65895-tjt     Doc 149      Filed 01/26/18      Entered 01/26/18 12:14:32         Page 23 of 29
                unless and until any party in interest with standing to do so (other than the
                Trustee) successfully objects to the claim. This Order is without prejudice
                to the right of any other party in interest to file and prosecute an objection
                to the claim filed by Harold Zaima.4

        H.      Upon entry of this Order, the Trustee/Estate shall releases the Zaima
                Entities from any and all claims and liabilities of any kind, whether known
                or unknown, that the Trustee/Estate had, has, or may have against the
                Zaima Entities.

        I.      , except any claims based on, or to enforce, the provisions of this Order or
                the Settlement Agreement.

        I.      To secure payment to the Trustee of the Assignment of Litigation Proceeds
                obtained through the OCCC Litigation, the Zaima Entities grant to the
                Trustee a lien and security interest in all of their claims against the Chinese
                Entities and the proceeds of such claims. Such lien and security interest
                will be deemed perfected without the need for the Trustee to take any
                further action, but the Trustee may record a copy of this Order in any
                governmental office if he so desires.5 If the Zaima Entities fail to pay the
                Estate the Assignment of Litigation Proceeds obtained through the OCCC
                Litigation within 30 days from the date of receipt, collection, and recovery
                by the Zaima Entities from the Chinese Entities, the Trustee may file an
                affidavit of non-compliance with the Court, and a judgment, which can be
                collected utilizing any and all remedies under federal or state law, shallwill
                be entered in favor of the Trustee and against the Zaima Entities, jointly
                and severally in an amount equivalent to 20% (twenty percent) of any
                settlement or judgment funds obtained, recovered, and collected by the
                Zaima Entities against the Chinese Entities in the OCCC Litigation, but
                not to exceed $300,000 (three hundred thousand dollars), less any money
                already paid to the Trustee by or on behalf of the Zaima Entities, with post
                judgment interest accruing at the federal judgment interest rate.

        J.      The Estate will retain all liabilities for all causes of action asserted by the


        4
          This subparagraph has been revised by the Court from the language that was in the Trustee’s
proposed order filed with the Motion, based on the agreement by counsel for the Trustee and counsel for
the Zaima Entities during the hearing held on December 7, 2016. (See Tr. (Docket # 145) at 51-52).
        5
          The Court has added the first two sentences of this subparagraph to the language that was in
the Trustee’s original proposed order, based on the agreement of the Trustee, the Zaima Entities, and the
Chinese Entities, as expressed by their respective attorneys during the December 7, 2016 hearing. (See
Tr. (Docket # 145) at 69-70, 98, 105).

                                                    4



 09-65895-tjt      Doc 149      Filed 01/26/18      Entered 01/26/18 12:14:32          Page 24 of 29
                Chinese Entities against the Debtor in the Oakland County Case
                Adversary. The presence of such claims will not affect the immediate
                remand from the Bankruptcy Court to the Oakland County Circuit Court of
                all claims by and between the Zaima Entities and the Chinese Entities in
                the OCCC Litigation. But the Chinese Entities are not precluded from
                asserting any of their counterclaims, defenses, and offsets to any of the
                claims of the Zaima Entities in the OCCC Litigation.6




        6
           The Court has added this subparagraph J to this Order. The first two sentences of this
subparagraph are copied from the Trustee’s Motion (Docket # 115 at 5, ¶ 13(G)), and are consistent with
the language in ¶ 6 of the Settlement Agreement. The third sentence of this subparagraph is added by the
Court, to reflect the agreement of the Trustee, the Zaima Entities, and the Chinese Entities, as expressed
by their respective attorneys during the December 7, 2016 hearing. (See Tr. (Docket # 145) at 48-49, 85-
86; see also Trustee’s Reply (Docket # 129) at 7 n.4).

                                                    5



 09-65895-tjt      Doc 149      Filed 01/26/18      Entered 01/26/18 12:14:32           Page 25 of 29
                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                          Case No. 09-65895

CLEMENTS MANUFACTURING                                          Chapter 7
LIQUIDATION COMPANY, LLC,
                                                                Judge Thomas J. Tucker
            Debtor.
_________________________________/

              ORDER GRANTING TRUSTEE'S MOTION TO COMPROMISE
                AND SETTLE ADVERSARY NOS. 10-06123 AND 10-07341

       This case is before the Court on the Trustee’s motion entitled “Motion to Compromise
and Settle Adversary Case Nos. 10-06123-TJT and 10-07341-TJT” (Docket # 115, the
“Motion”). Notice of the Motion was served on all parties as required by Fed. R. Bankr. P. 2002
and L.B.R. 9014-1 (E.D.M.). Objections were filed, and the Court held a hearing. For the
reasons stated by the Court in its written opinion filed January 26, 2018, the Court enters this
Order.

         IT IS ORDERED that the Trustee’s Motion is granted, subject to the terms of this Order.

       IT IS FURTHER ORDERED that Chapter 7 Trustee, Charles L. Wells, III, is authorized
to compromise and settle all causes of action asserted by the Estate of Debtor Clements
Manufacturing Liquidation Company L.L.C. (hereinafter “Trustee” or “Estate”) against Harold
Zaima, Zaima Family LLC, Sakoma LLC and Kensa de Honduras S. de R.L. ("Zaima Entities")
in Adversary Nos. 10-06123-TJT (the “Receivables Adversary”) and 10-07341-TJT (the
“Oakland County Case Adversary”) on all of the terms and conditions of the Settlement and
Release Agreement attached as Exhibit 5 to the Trustee's Motion (the “Settlement Agreement”),
but subject to the terms of this Order.1

         IT IS FURTHER ORDERED that:

         A.     All causes of action, including all counts, claims, counterclaims and
                cross-claims, asserted by the Trustee against the Zaima Entities that are
                pending in the Receivables Adversary and the Oakland County Case
                Adversary will be dismissed with prejudice. Such dismissal will be
                accomplished by the entry of appropriate orders in each of the adversary
                proceedings. The Trustee and the Zaima Entities must file, in each
                adversary proceeding, a stipulation to such dismissal, and must submit an

         1
          To the extent of any conflicts between the Settlement Agreement and this Order, the terms of
this Order will govern.



 09-65895-tjt     Doc 149      Filed 01/26/18      Entered 01/26/18 12:14:32          Page 26 of 29
                appropriate proposed dismissal order.

       B.       All claims and causes of action by and between the Zaima Entities and the
                Chinese Entities2 in the Oakland County Case Adversary, including all
                counts, claims, and causes of action asserted therein, will be remanded to
                the Oakland County Circuit Court and will resume in the Oakland County
                Circuit Court at Case No. 09-101450-CB (“OCCC Litigation”). Such
                remand to the Oakland County Circuit Court will be accomplished by the
                entry of an appropriate order in the Oakland County Case Adversary. The
                Trustee and the Zaima Entities must file, in the Oakland County Case
                Adversary, a stipulation to such remand, and must submit an appropriate
                proposed remand order.

       C.       All causes of action asserted by the Trustee against the Chinese Entities
                that are pending in the Receivables Adversary and the Oakland County
                Case Adversary will be stayed pending entry of a final, non-appealable
                judgment as to the Zaima Entities’ claims against the Chinese Entities in
                the OCCC Litigation. This stay will be accomplished by the entry of an
                appropriate stay order in each adversary proceeding. The Trustee and the
                Chinese Entities must file, in each adversary proceeding, a stipulation to
                such stay, and must submit an appropriate proposed stay order. The entry
                of the stay orders, staying all of the Trustee’s claims against the Chinese
                Entities, will have no impact on the OCCC Litigation, and will have no
                claim- or issue-preclusive, res judicata, or collateral estoppel effect on the
                claims asserted by the Zaima Entities against the Chinese Entities in the
                OCCC Litigation. Further, the OCCC Litigation will be binding on the
                Trustee’s claims.

       D.       Upon entry of this Order, the Zaima Entities are deemed to assign to the
                Trustee/Estate 20% (twenty percent) of the gross amount3 of any
                settlement or judgment funds obtained, recovered, and collected by the
                Zaima Entities against the Chinese Entities in the OCCC Litigation, with
                such assignment not to exceed $300,000 (three hundred thousand dollars)
                of any settlement or judgment funds so obtained, recovered, and collected
                (“Assignment of Litigation Proceeds”).



       2
          As used in this Order, “Chinese Entities” means China Auto Electronics Group Ltd, Henan
Tianhai Electric Co., Ltd., Tianhai Electric North America Inc., Hebi Tianhai Huanqiu Electric
Company, Ltd., THB America LLC, and Tianhai Electric Group Corporation.
       3
           The Court has added the phrase “of the gross amount” to this subparagraph. See Tr. (Docket
# 145) at 12 (clarification by the Trustee’s counsel during the December 7, 2016 hearing).

                                                   2



 09-65895-tjt     Doc 149      Filed 01/26/18      Entered 01/26/18 12:14:32         Page 27 of 29
        E.      Upon entry of a final, non-appealable, judgment as to the Zaima Entities’
                claims against the Chinese Entities in the OCCC Litigation, the Trustee
                must dismiss his claims against the Chinese Entities with prejudice (except
                for the Trustee’s claim and interest in the interpleaded funds from the
                Sanilac County Circuit Court, which were subject to a prior motion to
                compromise in this case (Docket # 77).

        F.      Upon entry of this Order, the Zaima Entities release any interest they hold
                in the interpleaded funds from the Sanilac County Circuit Court. The
                Zaima Entities will make no claims on such funds, but do not act as
                guarantors of those funds or indemnify the Estate in the dispute between
                the Estate and the Chinese Entities over those funds. Further, the funds
                from the Sanilac County Circuit Court will not be considered part of the
                Assignment of Litigation Proceeds. The Estate will retain all claims and
                obligations to defend the interpleaded funds from the Sanilac County
                Circuit Court. The issue of these interpleaded funds will not affect or
                delay the immediate remand of the claims referenced in subparagraph B to
                the Oakland County Circuit Court, and will not have any claim- or
                issue-preclusive, res judicata, or collateral estoppel effect on the claims
                asserted by the Zaima Entities against the Chinese Entities in the OCCC
                Litigation.

        G.      The Trustee will permit and allow Harold Zaima’s Proof of Claim No. 9 in
                the main Bankruptcy Case No. 09-65895-TJT as a general unsecured claim
                in the amount of $471,250. The Trustee will not object to said Proof of
                Claim, and the claim will be deemed allowed in the amount of $471,250,
                unless and until any party in interest with standing to do so (other than the
                Trustee) successfully objects to the claim. This Order is without prejudice
                to the right of any other party in interest to file and prosecute an objection
                to the claim filed by Harold Zaima.4

        H.      Upon entry of this Order, the Trustee/Estate releases the Zaima Entities
                from any and all claims and liabilities of any kind, whether known or
                unknown, that the Trustee/Estate had, has, or may have against the Zaima
                Entities, except any claims based on, or to enforce, the provisions of this
                Order or the Settlement Agreement.

        I.      To secure payment to the Trustee of the Assignment of Litigation Proceeds
                obtained through the OCCC Litigation, the Zaima Entities grant to the


       4
          This subparagraph has been revised by the Court from the language that was in the Trustee’s
proposed order filed with the Motion, based on the agreement by counsel for the Trustee and counsel for
the Zaima Entities during the hearing held on December 7, 2016. (See Tr. (Docket # 145) at 51-52).

                                                   3



 09-65895-tjt     Doc 149      Filed 01/26/18      Entered 01/26/18 12:14:32          Page 28 of 29
                Trustee a lien and security interest in all of their claims against the Chinese
                Entities and the proceeds of such claims. Such lien and security interest
                will be deemed perfected without the need for the Trustee to take any
                further action, but the Trustee may record a copy of this Order in any
                governmental office if he so desires.5 If the Zaima Entities fail to pay the
                Estate the Assignment of Litigation Proceeds obtained through the OCCC
                Litigation within 30 days from the date of receipt, collection, and recovery
                by the Zaima Entities from the Chinese Entities, the Trustee may file an
                affidavit of non-compliance with the Court, and a judgment, which can be
                collected utilizing any and all remedies under federal or state law, will be
                entered in favor of the Trustee and against the Zaima Entities, jointly and
                severally in an amount equivalent to 20% (twenty percent) of any
                settlement or judgment funds obtained, recovered, and collected by the
                Zaima Entities against the Chinese Entities in the OCCC Litigation, but
                not to exceed $300,000 (three hundred thousand dollars), less any money
                already paid to the Trustee by or on behalf of the Zaima Entities, with post
                judgment interest accruing at the federal judgment interest rate.

        J.      The Estate will retain all liabilities for all causes of action asserted by the
                Chinese Entities against the Debtor in the Oakland County Case
                Adversary. The presence of such claims will not affect the immediate
                remand from the Bankruptcy Court to the Oakland County Circuit Court of
                all claims by and between the Zaima Entities and the Chinese Entities in
                the OCCC Litigation. But the Chinese Entities are not precluded from
                asserting any of their counterclaims, defenses, and offsets to any of the
                claims of the Zaima Entities in the OCCC Litigation.6




        5
          The Court has added the first two sentences of this subparagraph to the language that was in
the Trustee’s original proposed order, based on the agreement of the Trustee, the Zaima Entities, and the
Chinese Entities, as expressed by their respective attorneys during the December 7, 2016 hearing. (See
Tr. (Docket # 145) at 69-70, 98, 105).
        6
           The Court has added this subparagraph J to this Order. The first two sentences of this
subparagraph are copied from the Trustee’s Motion (Docket # 115 at 5, ¶ 13(G)), and are consistent with
the language in ¶ 6 of the Settlement Agreement. The third sentence of this subparagraph is added by the
Court, to reflect the agreement of the Trustee, the Zaima Entities, and the Chinese Entities, as expressed
by their respective attorneys during the December 7, 2016 hearing. (See Tr. (Docket # 145) at 48-49, 85-
86; see also Trustee’s Reply (Docket # 129) at 7 n.4).

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 09-65895-tjt      Doc 149      Filed 01/26/18      Entered 01/26/18 12:14:32           Page 29 of 29
